




02-11-457-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
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NO. 02-11-00457-CV

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  Bryan L. Walter
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Randy Eugene Austin
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


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FROM THE 325th
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On June
6, 2012, we notified appellant that his brief had not been filed as required by
Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R. App. P.
38.6(a).&nbsp; We stated we could dismiss the appeal for want of prosecution unless
appellant or any party desiring to continue this appeal filed with the court on
or before June 18, 2012 a response showing grounds for continuing the appeal.&nbsp; See
Tex. R. App. P. 42.3.&nbsp; We have not received any response.

Because
appellant's brief has not been filed, we dismiss the
appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
WALKER, MCCOY, and MEIER, JJ.

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DELIVERED:&nbsp;
July 19, 2012








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[1]See Tex. R. App. P. 47.4.







